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                         EXHIBIT B
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 77-3, PageID.1818 Filed 06/20/23 Page 2 of 3
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    But be able to display that data in addition to population to kind of gauge where the
    Commission is.
       >> KIM BRACE: So what you have is on your spreadsheet your active matrix down
    there you have the racial and demographic characteristics and the overview tab.
    And then the individual racial groups in the other tabs.
    So if you wanted, again, it's the option of how you wanted to see race.
    Remember what I've said before, so if you want to use a combo or the maximum it
    could be in terms of for example the African/American compared to the alone category
    of non-Hispanic African/American, here is where you start seeing the differences here.
    So on the alone African/American is 2.7%.
    In this District that you have drawn.
    But in the combo, it's 3.86%.
    So you see how the different definitions of your racial groups change.
    And that's sometimes is important to recognize on that side.
       >> COMMISSIONER CLARK: Can we get Lisa's assessment and then Bruce's
    assessment of this District?
       >> KIM BRACE:
       >> MS. JULIANNE PASTULA: Mr. Chair?
       >> COMMISSIONER WITJES: General Counsel Pastula.
       >>MS.JULIANNE PASTULA: And Mr. Brace has the racial census data displayed
    and the percentages that correspond to the draft District that's displayed.
    The analysis from Dr. Handley and Mr. Adelson will, in fact, come later, after, again, I
    believe Dr. Handley is scheduled to give her presentation on September 2nd, which will
    be again a statewide look and then focusing in on the areas with significant minority
    population to analyze whether there is racially polarized voting in those areas.
    So that data will come later.
    I think one thing and I know Mr. Adelson has taken off his mask, the largest cue that
    someone wants to speak in these meetings, but I would also say that moving from the
    racial data aspect of it just momentarily is if the display if we could see the voting age
    population just of total population the voting age and some of the other categories for
    this proposed, this draft District excuse me the draft District that is displayed.
    Thank you, Mr. Chair.
       >> KIM BRACE: So in the voting age population you look at this one, voting age of
    alone is 2.67 and of voting age of combo for the African/American is 3.24.
    So it's not as much of a difference on the voting age as it is in total population on that
    side.
       >> VICE CHAIR SZETELA: Mr. Adelson?
       >> I wanted to address Commissioner Clark's comments about the analysis.
    Big part of the analysis is election results and analysis.
    That's not here.


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    I know that that's something that Dr. Handley is looking at and she and I will be talking
    about.
    So to your point, I agree that that can be a very significant part of the analysis.
    But that's part of the data that we talked about earlier that isn't here yet.
    When it comes, great.
    But also just keep in mind anecdotally in looking at voting act rights issues and ability to
    elect candidates of choice that often involves looking at what is the size of the minority
    age population is it 10%, 20%, 40%, 50%, the higher you go the likelier, the greater the
    opportunity for minority voters to be able to elect candidates of choice.
    That all is part of Dr. Handley's analysis which we will then use in various ways but it's
    kind of a good thumbnail.
    The smaller the population anecdotally for now is probably less likely that that
    population generally will be able to elect candidates of choice.
    Thank you.
       >> VICE CHAIR SZETELA: All right where to now Commissioner Clark?
       >> COMMISSIONER CLARK: You want me to continue with this?
       >> VICE CHAIR SZETELA: Yes.
       >> COMMISSIONER CLARK: I didn't know if we were going to pass the baton.
    That's what I was thinking Hillsdale is 45746 and Jackson is 16366.
    Okay, so I want to get those two counties.
       >> KIM BRACE: Hillsdale.
    We will put this into District two.
       >> COMMISSIONER CLARK: Yep.
       >> KIM BRACE: Okay, and Jackson.
       >> COMMISSIONER CLARK: Correct.
       >> MS. SARAH REINHARDT: Commissioner Clark?
       >> COMMISSIONER CLARK: Yes.
       >> MS. SARAH REINHARDT: Can you clarify if you started drawing the second
    District? Is this the second District?
       >> COMMISSIONER CLARK: It is.
       >> VICE CHAIR SZETELA: It is.
       >> MS. SARAH REINHARDT: Just to clarify and the Commission can proceed how it
    wants but the drawing of the second District the subsequent District would move on to
    the next person in alphabetical order.
       >> VICE CHAIR SZETELA: So we will move on to Juanita? Juanita wants to pass,
    so that brings us to you, Commissioner Lett.
    I know you only have ten more minutes left so you will have to be speedy, I guess.
       >> COMMISSIONER LETT: Hillsdale and Jackson highlighted.
       >> VICE CHAIR SZETELA: Microphone too.
       >> VICE CHAIR SZETELA: Thank you.



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